 Case 1:20-cr-00323-AMD Document 89 Filed 01/19/23 Page 1 of 1 PageID #: 570

                                                   U.S. Department of Justice


                                                   United States Attorney
                                                   Eastern District of New York
NMA                                                271 Cadman Plaza East
F. #2020R00304                                     Brooklyn, New York 11201


                                                   January 19, 2023

By ECF
The Honorable Ann M. Donnelly
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201


              Re:      United States v. Darrius Sutton, et al
                       Criminal Docket No. 20-CR-323 (S-4) (AMD)

Dear Judge Donnelly:

               On January 11, 2023, a grand jury sitting in this district returned a fourth
superseding indictment in the above-captioned case. The fourth superseding indictment corrects
certain typographical errors in the third superseding indictment; it does not include any new
charges. A “compare” version showing the changes from S-3 to S-4 is attached for your
convenience as Exhibit A to this letter.

              A status conference is scheduled in this matter for January 26, 2022 at 11:30 a.m.
The government respectfully requests that the Court arraign the defendants on the fourth
superseding indictment at that time.

                                                   Respectfully submitted,

                                                   BREON PEACE
                                                   United States Attorney

                                            By:       /s/
                                                   Nick M. Axelrod
                                                   Assistant U.S. Attorney
                                                   (718) 254-6883


cc:   Clerk of Court (AMD) (by E-mail and ECF)
      Defense counsel (by E-mail and ECF)
